                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
v.                                         ) CASE NO: 1:21-MJ-00035
                                           )
JENNY LOUISE CUDD,                         )
                                           )
         Defendant.                        )
__________________________________________)



                                           ORDER

         Upon consideration of Defendant’s Motion for Travel, and for good cause shown, it is

hereby

         ORDERED that Defendant’s Motion for Travel is GRANTED; and it is

         FURTHER ORDERED that Defendant’s pretrial travel restrictions be amended to permit

defendant to travel to Mexico on February 18, 2021 and to return to the United States on February

21, 2021.

         FURTHER ORDERED that the Clerk forward a copy of this Order to all counsel of record.




                                                      __________________________________
                                                                 United States Magistrate Judge
                                                 U.S. District Court for the District of Columbia


Washington, D.C.

_____________, ____, 2021.
